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    Via ECF

    June 5, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608

    Re: In re: Johnson & Johnson Talcum Powder Products
        Marketing, Sales Practices and Products Liability Litigation -
        MDL 2738

              This relates to:

              Smith v. Johnson & Johnson, et al.
              Case No. 3:19-cv-20329

              Prickett v. Johnson & Johnson, et al.
              Case No. 3:19-cv-20353

   Dear Magistrate Judge Singh:

         I write on behalf of Defendants Johnson & Johnson and LLT Management,
   LLC, in response to the letter (ECF 32714) filed by counsel for Plaintiffs Roberta
   Lynn Smith, Case No. 3:19-cv-20329, and Sandra Kopp Prickett, Case No. 3:19-
   cv-20353, regarding the inclusion of those cases on the June 3, 2024, list of
   cases subject to an Order to Show Cause for failure to serve Plaintiff Profile
   Forms (PPF) (ECF 32601).

         The PPFs for both matters noted above were due on February 15, 2024,
   per the Amended Plaintiff’s Profile Form Order (ECF 27291). Plaintiffs failed to
   comply with that deadline. Therefore, these cases were listed on the April 1,
   Hon.
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   2024, PPF Report (ECF 30612). Plaintiffs’ counsel didn’t respond or object.
   These cases were again listed on the May 1, 2024, PPF Report (ECF 32127).
   Again, there was no response or objection from Plaintiffs’ counsel.

           Plaintiffs’ letter states the PPFs were filed on May 16, 2024, over three
   months late. Contrary to the standard, and common sense, practice in this
   litigation for cases noticed as deficient in serving a PPF, and knowing these
   cases could be potentially facing an Order to Show Cause, Plaintiffs’ counsel did
   not reach out and tell us that the overdue PPFs were finally filed. Although the
   Court’s Order on adjudication of deficient cases (ECF 29032) required Plaintiffs’
   counsel to meet and confer with counsel for these Defendants before filing any
   request for relief with the Court regarding PPF deficiencies, Plaintiffs’ counsel
   failed to abide by that provision in the Court’s Order.

          Had Defendants been notified at any time before the filing of the June 3rd
   OTSC, that the deficiency had been corrected, albeit three months late, the Smith
   and Prickett cases would have been removed from Defendants’ deficiency list.
   But now that we know, we will remove the cases and they will not be listed in the
   final dismissal order to be filed with the Court thirty-five (35) days after the entry
   of the June 3rd Order to Show Cause.

         Plaintiffs’ letter requests the Court enter an order requiring a series of
   actions. Such an order is unnecessary as these cases have now been removed
   from Defendants’ deficiency list and in light of Plaintiffs’ counsel’s failure to follow
   the procedures outlined in the Case Management Order.

            Thank you for your consideration of these matters.


                                                Respectfully,

                                               /s/ Susan M. Sharko
                                               Susan M. Sharko
                                               FAEGRE DRINKER BIDDLE & REATH LLP

                                               Attorneys for Defendants
                                               Johnson & Johnson and
                                               LLT Management, LLC

   SMS/scg
   Cc: Michael B. Lynch, Esq. (via e-mail)
       Levi M. Plesset, Esq. (via e-mail)
       All counsel of record (via ECF)
